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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS bio lig - /

LUFKIN DIVISION TE" Org £
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AARON JAMES BROWN, } May “Cr Oy
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VS. } 4
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CITY OF LUFKIN, TEXAS, }
DEFENDANT. } JURY
ORIGINAL COMPLAINT

 

AARON JAMES BROWN, hereafter Plaintiff, files his Original Complaint complaining
of CITY OF LUFKIN, TEXAS, hereafter Defendant or CITY and for cause respectfully shows

this Court as follows:

PARTIES
1. Plaintiff is a citizen of the State of Texas.
2, Defendant, CITY OF LUFKIN, TEXAS, is a Texas governmental entity doing business

in, and under the protection of, the laws of the State of Texas. Defendant may be served with
process of service by and through its City Manager, Paul L. Parker, at 300 E. Shepherd Avenue,
Lufkin, Texas 75902,

/ JURISDICTION AND VENUE

3. This cause of action is brought pursuant to the laws and statutes of the United States of
America, The amount in controversy is within the limits of this Court. This Court has personal

jurisdiction over Defendant and the subject matter alleged herein.
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4, This cause of action arose in Lufkin, Texas. Therefore, venue is proper pursuant to
§706(D(3) of 42 U.S.C. 2000e and 28 U.S.C. 1391 et seq.
5. The term "acts" as used herein shail, mean the acts and/or omissions of Defendant, its

agents, employees, representatives, directors and officers

BRIEF FACTUAL SUMMARY
6. The following is a summary of the facts and contentions which Plaintiff asserts in this
matter.
a. Plaintiff is a member of a protected class; to wit, an African-American male, During

2008 and 2009 and at all relevant times, Plaintiff was employed by Defendant.

b. On or about January 28, 2009, Plaintiff's employment with Defendant was terminated.
Termination was allegedly for an accident involving damage to company property.

c. At all times relevant, Plaintiff was performing in a satisfactory manner,

d. Notwithstanding the allegedly incident made the basis of termination, various other white

male employees were involved in incidents of comparable fact and damage without being

terminated.
€. The putative reason for termination is a sham and a pretext.
f. Plaintiff timely filed his charge of discrimination and timely filed his original complaint

within 90 days of receipt of his Right to Sue Letter. All conditions precedent have been fulfilled.
ALLEGATIONS
7. Incorporating the foregoing facts, plaintiff makes the following allegations,
8. Violation of 42 U.S.C, §2000e - Race
Plaintiff is an African American male, a member of a protected class of persons.

Defendant discriminated against Plaintiff and caused Plaintiff to suffer an adverse employment
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action in whole or in part because of Plaintiff's Race, in violation of 42 U.S.C. 2000e for which
Plaintiff is entitled to an award of actual and consequential damages, attorney fees (if any), and
costs,
9, Malice

The acts of Defendant were malicious and made with reckless disregard for the rights and
welfare of Plaintiff. Plaintiff is entitled to submit to the jury a question of malice and to receive
an award of punitive damages as a deterrent to Defendant for such acts.
10. Loss of Income/Loss of Earning Ability

As a further result of the acts of Defendant, Plaintiff has suffered ioss of income in an
amount within the jurisdictional limits of this Court, Defendant is entitled to recover such
consequential damages, pursuant to 42 U.S.C, 2000e.

JURY TRIAL
11. Plaintiff requests trial by jury.
PRAYER

12, WHEREFORE, Plaintiff requests that citation issue and Defendant answer and that this
matter be set for trail; and, upon trial, that Plaintiff be awarded his actual damages and emotional
damages and consequential damages, and costs, as well as punitive damages, and attorney fees,
and costs. Further, Plaintiff requests such other relief, specific or general, legal or equitable, to
which Plaintiff may be justly entitled.

Respectfully submitted,

AARON keine BROWN

500 Martin Luther King
Lufkin, TY 795904
